Case 2:20-cv-06587-VAP-JC Document 14 Filed 07/24/20 Page 1 of 2 Page ID #:47

                            UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF CALIFORNIA

                                                   CASE NUMBER:


ERICA REINERS                                         2:20−cv−06587−VAP−JC
                                    PLAINTIFF(S)

       v.
CHOU TEAM REALTY, LLC , et al.

                                                       NOTICE TO FILER OF DEFICIENCIES IN
                                  DEFENDANT(S).
                                                       REQUEST FOR ISSUANCE OF SUMMONS




PLEASE TAKE NOTICE:
The following problem(s) have been found with your electronically filed document:
  7/23/20               4,5,6,7,8,9,10                Request for Summons
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The caption of the summons must match the caption of the complaint verbatim. If the caption
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Summons.




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                                                   Clerk, U.S. District Court

                                                   By: /s/ Edwin Sambrano
Date: July 24, 2020                                edwin_sambrano@cacd.uscourts.gov
                                                      Deputy Clerk




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                                           www.cacd.uscourts.gov  Local Rules, Page
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                                                                                        of 2 and
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